7/25/2021                                      Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING       CONTACT




     GIVING
                                          November 2020
                                          GIVING

                                      The Interactive Giving Fund made a donation of $10,000 to
                                      Fair Fight, continuing the commitment to give to causes that
                                      make a positive impact around the country. Fair Fight
                                      promotes fair elections in Georgia and the US, encourages
                                      voter participation in elections, and educates people about
                                      elections and voting rights. For more info about Fair Fight,
                                      please visit fair ght.com – and if you would like to get
                                      involved with the Interactive Giving Fund, please reach out
     via interactivegivingfund.org/contact




     JUNE 2020
     GIVING

     With money raised by the bass head community, Be Interactive donated tens of thousands to
     To Write Love On Her Arms – the money went to scholarships for therapy to victims of sexual
     misconduct.




                 Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 1 of 23 PageID #: 594
interactivegivingfund.org/giving/                                                                    1/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND


     June 2020
     GIVING                    HOME   GIVING    CONTACT
     The bass head community, through Be Interactive, donated $100,000, which was split
     between 5 organizations: Black Lives Matter, Color Of Change, Campaign Zero, The NAACP
     Legal Defense and Educational Fund, & Media Justice.




     April 2020
     GIVING

     To celebrate Earth Day, Ambassadors and bass heads around the country organized cleanups
     in their local communities.




     APRIL 2010
     GIVING

     At a show in Detroit, bass heads raised over a thousand dollars for local community
     organizations.




     APRIL 2020
     GIVING

     Be Interactive launches the Giving Cycle Micro Grants, where thousands raised by the bass
     head community were given to Ambassadors for projects that helped their local communities
     during the pandemic.
            Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 2 of 23 PageID #: 595
interactivegivingfund.org/giving/                                                                2/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING    CONTACT


     December 2019
     GIVING

     At a bass head community New Year’s event in Louisville, bass heads donated 1,000+ coats to
     those in need, supplied $3,000 worth of pet food for rescue animals, and gave 1,200 to
     hungry families.




     NOVEMBER 2019
     GIVING

     At a 3-day bass head community gathering event in Grand Rapids, MI, the bass head
     community donated $1 per ticket to funds that would provide an eventual $360,000 of
     therapy to those who need it, partnering with Better Help.




     NOVEMBER 2019
     GIVING

     At a 3-day bass head community gathering event in Grand Rapids, MI, bass heads sent 35,000
     meals to those in need in Flint, MI, registered 225 voters, and gave a dollar per ticket towards
     free therapy for those seeking mental health services




                 Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 3 of 23 PageID #: 596
interactivegivingfund.org/giving/                                                                       3/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND



     NOVEMBER 2019
                               HOME   GIVING    CONTACT
     GIVING

     The morning of bass head community gathering on Day Of The Dead, Ambassadors
     organized a cleanup and put together care packages to pass out to those in need around
     Grand Rapids, MI




     SEPTEMBER 2019
     GIVING

     At a 2-day bass head community gathering event in Hampton, VA, the bass head community
     donated 1000 months of free therapy through partners Better Help to those seeking mental
     health services, 5000+ menstrual supplies collected for Hampton Healthy Families, and 2,237
     pounds of food donated to Conscious Alliance.




     AUGUST 2019
     GIVING

     The bass head community donates $1,000 to multimedia boat project setting out to sail
     around the world educating about Climate Change




     JULY 2019
     GIVING

                 Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 4 of 23 PageID #: 597
interactivegivingfund.org/giving/                                                                  4/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND

     Be Interactive commits to giving $10,000 in grant money to an Ambassador who developed a

                               HOME   GIVING
     high school course on Climate Change
                                                CONTACT




     JULY 2019
     GIVING

     The 2nd Be Interactive fundraiser event takes place in Nashville, TN – 100% of the proceeds
     from tickets went to charitable e orts by the nonpro t. At the event, bass heads also
     donated 16,547 health supplies to Community Achieves, a Nashville public schools initiative.




     JUNE 2019
     GIVING

     At a 3-day bass head community gathering event in Colorado, bass heads raised $10,000+ for
     urban farming in CO, donated 900 lbs of food to families in need, and had 300 volunteers
     show up to participate and work at a sustainable farm.




     JUNE 2019
     GIVING

     At a 3-day bass head community event in Colorado, Ambassadors collected handmade cards
     for hospitalized children – donations went to Cards for Hospitalized Kids who then
     distributed to kids in hospitals.



                 Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 5 of 23 PageID #: 598
interactivegivingfund.org/giving/                                                                   5/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING    CONTACT

     APRIL 2019
     GIVING

     To celebrate Earth Day, Ambassadors and bass heads around the country organized cleanups
     in their local communities.




     MARCH 2019
     GIVING

     At a bass head community vacation gathering in Mexico, bass heads picked up 560 lbs. of
     trash on a beach cleanup, donated 94 backpacks and other school supplies for local children
     in MX, and raised $18,000 to support music education in Los Angeles




     DECEMBER 2018
     GIVING

     At a NYE event in Greensboro, the bass head community donated 3,000 items of winter
     clothing to those in need and 2,500 meals to a local food bank.




     NOVEMBER 2018
     GIVING
           Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 6 of 23 PageID #: 599
interactivegivingfund.org/giving/                                                                  6/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND

     Be Interactive commits to giving $20,000 in grant money to projects in education.

                               HOME   GIVING    CONTACT




     SEPTEMBER 2018
     GIVING

     The 1st ever Be Interactive fundraiser event takes place in San Francisco, CA – 100% of the
     proceeds from tickets went to charitable e orts by the nonpro t.




     SEPTEMBER 2018
     GIVING

     At a 2-day bass head community gathering event in Hampton, VA, bass heads raised $5,178
     to help feed people and support Pine Ridge and Standing Rock Reservations, donated 2,956
     items to a School Supply Drive, and broke Head Counts’s single day concert voter registration
     record for 2018.




     JUNE 2018
     GIVING

     At a 3-day bass head community event in Colorado, Ambassadors collected handmade cards
     for hospitalized children – donations went to Cards for Hospitalized Kids who then
     distributed to kids in hospitals.




                 Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 7 of 23 PageID #: 600
interactivegivingfund.org/giving/                                                                    7/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING    CONTACT
     APRIL 2018
     GIVING

     To celebrate Earth Day, Ambassadors and bass heads around the country organized cleanups
     in their local communities.




     MARCH 2018
     GIVING

     At a 2-day bass head community event in Chicago, Ambassadors collected handmade cards
     for hospitalized children – donations went to Cards for Hospitalized Kids who then
     distributed to kids in hospitals.




     MARCH 2018
     GIVING

     The day before a bass head community gathering, Ambassadors and bass heads put together
     care packages to pass out to those in need around Chicago, IL.




     DECEMBER 2017
     GIVING

                 Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 8 of 23 PageID #: 601
interactivegivingfund.org/giving/                                                               8/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND

     At a NYE event in Atlanta, the bass head community donated 45 large bags worth of coats to

                    HOME          GIVING       CONTACT
     those in need – donations went to Hands Across Atlanta who then distributed to those less
     fortunate.




     DECEMBER 2017
     GIVING

     The day before NYE, Ambassadors put together care packages to pass out to those in need
     around Atlanta, GA




     NOVEMBER 2017
     GIVING

     Prior to Thanksgiving, Ambassadors and bass heads around the country organized food and
     clothing drives in their local communities.




     OCTOBER 2017
     GIVING

     Ambassadors and bass heads organized set up a food drive for those in need around Philly.




                 Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 9 of 23 PageID #: 602
interactivegivingfund.org/giving/                                                                 9/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND



     JULY 2017
                               HOME   GIVING    CONTACT
     GIVING

     Before a bass head community gathering event in Colorado, Ambassadors and bass heads
     volunteered with Groundwork Denver to garden at Sister Gardens at Aria.




     MAY 2017
     GIVING

     Every bass head who attended Ever After Festival in Ontario Canada donated $1 to the
     Ontario Rett Syndrome Association, who ght to improve the lives of adults and children
     living with this rare neurological condition.




     APRIL 2017
     GIVING

     Before a bass head community gathering in Atlantic City, Ambassadors + bass heads got
     together to clean up the AC beach and boardwalk




     APRIL 2017
     GIVING

     To celebrate Earth Day, Ambassadors and bass heads around the country organized cleanups
     in their local communities.

                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 10 of 23 PageID #: 603
interactivegivingfund.org/giving/                                                             10/23
7/25/2021                                        Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING       CONTACT


                                          APRIL 2017
                                          GIVING

                                          The bass head community voted, and the money from the
                                          2017 Dollar Per Bass Head money is distributed: $15,000 to
                                          Democracy Now!, 15,000 to the Boys And Girls Club Of
                                          America, $5,000 to the Cyber Civil Rights Initiative, $5,000 to
                                          the Kind Campaign, $5,000 to Love Is Louder, and $5,000 to
     The Trevor Project




                                          MARCH 2017
                                          GIVING

                                          The 6th Dollar Per Bass Head campaign is announced, and
                                          the bass head community will set out to decide how $50,000
                                          is divided between 6 organizations.




     DECEMBER 2016
     GIVING

     The morning of NYE, Ambassadors and bass heads assembled to put together and pass out
     care packages to those in need around the city of Birmingham, AL




                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 11 of 23 PageID #: 604
interactivegivingfund.org/giving/                                                                           11/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING    CONTACT
     DECEMBER 2016
     GIVING

     During the holiday season, Ambassadors and bass heads around the country set up toy and
     coat drives in their local communities.




     DECEMBER 2016
     GIVING

     $20,000 raised through bass head community events went to Oakland United, a bene t
     raising money for victims of a re in Oakland




     NOVEMBER 2016
     GIVING

     Prior to Thanksgiving, Ambassadors and bass heads around the country organized food
     drives in their local communities.




     AUGUST 2016
     GIVING

     The votes from the 5th Dollar Per Bass Head were counted, and the bass head community
     donated $20,000 to Inspire USA / Reach Out, $15,000 to the Khan Academy, $5,000 to
           Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 12 of 23 PageID #: 605
interactivegivingfund.org/giving/                                                              12/23
7/25/2021                                       Giving - INTERACTIVE GIVING FUND

                                          Democracy Now!, $5,000 to the Electronic Frontier

                               HOME   GIVING     CONTACT
                                          Foundation, and $5,000 to The Representation Project




     OCTOBER 2016
     GIVING

     Before a bass head community Halloween gathering, Ambassadors + bass heads got together
     to clean up the Peoria Forest Park Nature Preserve




     OCTOBER 2016
     GIVING

     Ambassador + bass heads volunteered at The Foodbank in New Jersey to organize food
     donations that were given to families in need.




     SEPTEMBER 2016
     GIVING

     Before North Coast Music Festival, Ambassadors volunteered at the Greater Chicago Food
     Depository that provides food for those in need around the city of Chicago.




                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 13 of 23 PageID #: 606
interactivegivingfund.org/giving/                                                                13/23
7/25/2021                                    Giving - INTERACTIVE GIVING FUND



     SEPTEMBERHOME
              2016                  GIVING    CONTACT
     GIVING

     Before Electric Zoo, Ambassadors and bass heads passed out care packages to the homeless
     around New York City.




     SEPTEMBER 2016
     GIVING

     Ambassador + bass heads volunteered with Groundwork Denver to work in a community
     garden that distributed veggies to Denver Public Schools.




     JULY 2016
     GIVING

     At a 2-day event in Colorado, Bass Heads donated 1,200 meals to families in impoverished
     communities around the country through Conscious Alliance and several van-loads of school
     supplies to 14 of the highest needs schools in the Denver area through the Denver Public
     Schools Foundation.




     JULY 2016
     GIVING

     Ambassadors and bass heads organized and passed out food and care packages to those in
     need around New York City.
           Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 14 of 23 PageID #: 607
interactivegivingfund.org/giving/                                                                14/23
7/25/2021                                       Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING       CONTACT


                                          MAY 2016
                                          GIVING

                                          Round 5 of Dollar Per Bass Head is announced – bass heads
                                          will get to decide how $50,000 is divided between 5
                                          organizations.




     APRIL 2016
     GIVING

     To celebrate Earth Day, Ambassadors and bass heads around the country organized cleanups
     in their local communities.




     DECEMBER 2015
     GIVING

     The bass head community donated 6230 lbs. of water, food, toiletries, clothing and more to a
     Storm Relief Drive hosted at a New Year’s event in Birmingham, AL – donations went to those
     a ected by the storms and ooding in the city.




                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 15 of 23 PageID #: 608
interactivegivingfund.org/giving/                                                                     15/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND


     DECEMBER 2015
     GIVING                    HOME   GIVING    CONTACT
     Before NYE, Ambassadors volunteered at The Firehouse in Birmingham to help organize and
     prepare space to those a ected by a recent storm and ooding in the city.




     OCTOBER 2015
     GIVING

     At a Halloween event in Grand Rapids, the bass head community donated 9 large bags worth
     of coats to those in need – donations went to One Warm Coat who then distributed to those
     less fortunate.




     OCTOBER 2015
     GIVING

     On Halloween morning, the Ambassadors volunteered at the Porter Hills Retirement Center,
     doing arts and crafts with the elderly and sharing life experiences with on another.




     AUGUST 2015
     GIVING

     Before Lollapalooza, the Bass Network, Ambassadors, and members of the bass head
     community volunteered at the Greater Chicago Food Depository that provides food for those
     in need around the city of Chicago.
           Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 16 of 23 PageID #: 609
interactivegivingfund.org/giving/                                                                16/23
7/25/2021                                        Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING       CONTACT


     MAY 2015
     GIVING

     Seven bass heads commit to becoming donors for bone marrow transplants at Red Rocks
     through Love Hope Strength




     MAY 2015
     GIVING

     Before a community gathering at Red Rocks, the Ambassadors helped a local Denver
     nonpro t A Little Help, helping elderly members of the community with yard work, outdoor
     beauti cation, and lending some eager ears to gain age-old wisdom




                                          NOVEMBER 2014
                                          GIVING

                                          The 4th Dollar Per Bass Head nal results are calculated,
                                          and the bass head community donates money to the
                                          following: $25,000 to Headcount, $20,000 to the National
                                          Alliance on Mental Illness, 15,000 to the Khan Academy,
                                          10,000 to the Center for Rights, and $5,000 to the Center for
     Media Justice




                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 17 of 23 PageID #: 610
interactivegivingfund.org/giving/                                                                         17/23
7/25/2021                                       Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING       CONTACT
     NOVEMBER 2014
     GIVING

     A dollar per every ticket sold at a bass head community gathering event in Detroit on Day of
     the Dead is donated to The Compassion & Choices Brittany Maynard Fund




                                          OCTOBER 2014
                                          GIVING

                                          Voting begins for the 4th community Dollar Per Bass Head
                                          campaign, with a commitment to give $75,000 to 5
                                          organizations.




     MAY 2014
     GIVING

     Two bass heads commit to becoming donors for bone marrow transplants at Red Rocks
     through Love Hope Strength




     NOVEMBER 2013
     GIVING

     Bass Heads raise money through music to the family of Cheb i Sabbah after his passing.
           Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 18 of 23 PageID #: 611
interactivegivingfund.org/giving/                                                                    18/23
7/25/2021                                        Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING       CONTACT


                                          SEPTEMBER 2013
                                          GIVING

                                          Dollar Per Bass Head Round 3 results are released and the
                                          community decides to donate: $50,000 to the National
                                          Association of Free and Charitable Clinics, $30,000 to the
                                          Electronic Frontier Foundation, and $20,000 to Contact USA




                                          SEPTEMBER 2013
                                          GIVING

                                          The 3rd Dollar Per Bass Head campaign launches and the
                                          bass head community votes on how to distribute $100,000
                                          to 3 organizations




                                          OCTOBER 2012
                                          GIVING

                                          A dollar per every ticket sold at a bass head community
                                          gathering event in St. Louis is donated to The SPOT
                                          (Supporting Positive Opportunities with Teens)




                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 19 of 23 PageID #: 612
interactivegivingfund.org/giving/                                                                      19/23
7/25/2021                                     Giving - INTERACTIVE GIVING FUND




              HOME
     OCTOBER 2012                   GIVING       CONTACT
     GIVING

     Ambassadors volunteer at International Institute Farms in St. Louis, gardening and helping to
     build up their community farm.




                                        SEPTEMBER 2012
                                        GIVING

                                        The second round of Dollar Per Bass Head results are
                                        released – the bass head community voted to give $50,000
                                        to A Home Within, $25,000 to Free Press, $15,000 to
                                        Democracy Now, and $10,000 Headcount




                                        SEPTEMBER 2012
                                        GIVING

                                        Round 2 of the Dollar Per Bass Head campaign is
                                        announced, where the community will give $100,000 to 4
                                        di erent nonpro t organizations.




     OCTOBER 2011
     GIVING
           Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 20 of 23 PageID #: 613
interactivegivingfund.org/giving/                                                                    20/23
7/25/2021                                        Giving - INTERACTIVE GIVING FUND

                                          The results from the rst Dollar Per Bass Head campaign are

                               HOME   GIVING       CONTACT
                                          released, and bass heads voted and decided to donate
                                          $25,000 to AlterNet, $15,000 to Free Press, and $10,000 to
                                          Reach Out USA




                                          AUGUST 2011
                                          GIVING

                                          The 1st Dollar Per Bass Head interactive giving campaign
                                          commences: donating $50,000 to 3 di erent nonpro t
                                          organizations.




                                          NOVEMBER 2010
                                          GIVING

                                          A dollar per every ticket sold at a bass head community
                                          gathering in Washington DC went to two local organizations:
                                          Hip Hop Education and Urban Artistry




     OCTOBER 2010
     GIVING

     At the 1st Bass Center, the rst ever Ambassador Team sets out to give back at the event and
     take care of the bass head community. The rest is history!

                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 21 of 23 PageID #: 614
interactivegivingfund.org/giving/                                                                       21/23
7/25/2021                                       Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING     CONTACT


     OCTOBER 2010
     GIVING

     First announcement for auditions to become Ambassadors at the 1st Bass Center




     JULY 2010
     GIVING

     Bass Network is mentioned for the rst time publicly, as a portal for bass heads to volunteer,
     donate, and give back to local communities and organizations.




                                        © 2021 INTERACTIVE GIVING FUND.

                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 22 of 23 PageID #: 615
interactivegivingfund.org/giving/                                                                    22/23
7/25/2021                                      Giving - INTERACTIVE GIVING FUND




                               HOME   GIVING    CONTACT




                Case 3:21-cv-00272 Document 74-2 Filed 07/29/21 Page 23 of 23 PageID #: 616
interactivegivingfund.org/giving/                                                             23/23
